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ORTIZ & ORTIZ, L.L.P.
Norma E. Ortiz
35-10 Broadway, Ste. 202
Astoria, New York 11103
Tel. (718) 522-1117
Fax (718) 596-1302
email@ortizandortiz.com
Proposed Counsel to the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re

Certa Dose Inc.,                                              Case No. 21-11045-lgb


                                    Debtor.                   Chapter 11
--------------------------------------------------------X

         AMENDED APPLICATION FOR ENTRY OF AN ORDER PURSUANT TO
            BANKRUPTCY CODE SECTION 327(a) AUTHORIZING THE
                           EMPLOYMENT OF
                ORTIZ & ORTIZ L.L.P. AS DEBTOR’S COUNSEL

TO THE HONORABLE LISA G. BECKERMAN,                                        ,
UNITED STATES BANKRUPTCY JUDGE:

        Certa Dose, Inc., (the “Debtor”), by its proposed attorneys Ortiz & Ortiz, L.L.P. (“O &

O”), respectfully represents:

                                              BACKGROUND

        1.       The Debtor filed a voluntary chapter 11 petition on May 30, 2021 the “Petition

Date”). The Debtor remains in possession with the authority to operate its business pursuant to

11 U.S.C. §§1107 and 1108. No committee has been appointed in this case.

        2.       The principal business of the Debtor is developing, selling and licensing its

pharmaceutical products and technology. The Debtor’s products are highly beneficial to the

medical community and are much-needed. The Debtor was designated as an innovation

company by Johnson & Johnson (“J & J”) and has received a grant and mentor ship from J & J.
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The Debtor anticipates sales of its products to exceed $20 million in the next 24 months.

       3.      The Debtor commenced this proceeding to affect a balance sheet reorganization

stemming from disputes and self-dealing in a contrived scheme orchestrated by its former COO

and two affiliated board members to over-leverage the company and cause its takeover by an

insurance company/lender controlled by one of the aforementioned board members.

       4.      The Debtor entered into a retainer agreement with O & O on May 28, 2021. The

retainer agreement was conditioned upon the Debtor’s payment of a $20,000 classic retainer and

the Court’s approval of the firm’s retention. The retainer was paid by the Debtor via wire

transfer from its operating account.

                                         JURISDICTION

       5.      The United States Bankruptcy Court for the Southern District of New York

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

       6.      The statutory bases for the relief requested herein are Bankruptcy Code Sections

327 and 328, Federal Rules of Bankruptcy Procedure 2014 and 2016, and Local Bankruptcy

Rule 2014-1.

                                       RELIEF REQUESTED

       7.      Subject to the Court’s approval, the Debtor has retained O & O as its bankruptcy

counsel to prosecute and complete its Chapter 11 case. Pursuant to 11 U.S.C. § 327(a), the

Debtor requests that the Court approve the employment of O & O as its attorneys to perform the

legal services necessary to consummate its Chapter 11 case. Since O & O began rendering

services prior to the Petition Date, O & O requests that the Court authorize its retention as of the


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Petition Date.

       8.        O & O anticipates rendering the following services to the Debtor:

                 (a) perform all necessary services as Debtor’s counsel that are related to the

                 Debtor’s reorganization and the bankruptcy estate;

                 (b) assist the Debtor in protecting and preserving the estate assets during the

                 pendency of the Chapter 11 case, including the prosecution and defense of actions

                 and claims arising from or related to the estate and/or the Debtor’s reorganization;

                 (c) prepare all documents and pleadings necessary to ensure the proper

                 administration of its case; and

                 (d) perform all other bankruptcy-related necessary legal services.

       9.        The Debtor believes that O & O is qualified to represent its interest and the

interests of the estate. Norma E. Ortiz, the partner responsible for the case, has over thirty years

of Chapter 11 bankruptcy law experience in the public and private sectors. O & O is willing to

act in this case and render the necessary professional services as attorneys for the Debtor.

       10.       As set forth in the Declaration of Norma E. Ortiz annexed hereto as Exhibit A, O

& O asserts that it does not hold or represent an interest adverse to the Debtor’s estate in the

matters upon which O & O is to be employed, and O & O is “disinterested” as the term is

defined in the Bankruptcy Code Section 327.

       11.       O & O shall apply to the Court for the allowance of compensation and

reimbursement of expenses in accordance with applicable provisions of the Bankruptcy Code,

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and the local rules and

orders of the Court. Subject to the provisions of the Bankruptcy Code, the Bankruptcy Rules and

the local rules and orders of the Court, the Debtor proposes to pay O & O its customary hourly


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rates as set forth in Norma E. Ortiz’s Declaration and submits that such rates are reasonable.

           12.    The terms of the retainer agreement are described in Exhibit B, and include

hourly rates of no more than $475 an hour for partners, $375 an hour for associates and attorneys

serving as of counsel, and $75 an hour for paralegal services. The retainer agreement entered

into by the Debtor and O & O provides that O & O received a classic retainer, as that term is

defined in In re King, 392 B.R. 62 (Bankr. S.D.N.Y. 2008), prior to the Petition Date. Such a

retainer is earned when paid but is subject to the restrictions of the applicable provisions of the

Bankruptcy Code, such as Sections 328, 329, 330 and 331, and the Federal Rules of Bankruptcy

Procedure. O & O asserts that te terms of the retainer agreement, and the proposed terms of the

firm’s retention, are customary and reasonable under the circumstances of this case.

           13.    No previous application for the relief requested herein has been made to this or

any other court.

           WHEREFORE, the Debtor respectfully requests the entry of an order substantially in the

form of the prefixed order granting the relief requested herein and such other and further relief as

is just.

Dated: Astoria, New York
       June 15, 2021

                                                                /s/Norma E. Ortiz
Certa Dose, Inc., President                                    Norma E. Ortiz, Esq.
                                                               Ortiz & Ortiz, L.L.P.
                                                               35-10 Broadway, Ste. 202
                                                               Astoria, New York 11106
                                                               Tel. (718) 522-1117




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                        EXHIBIT A
               DECLARATION OF NORMA E. ORTIZ
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
In re:                                                               Case No. 21-11045-lgb

Certa Dose Inc.,
                                                                     Chapter 11
                                    Debtor.
------------------------------------------------------X

   DECLARATION AND DISCLOSURE STATEMENT OF NORMA E. ORTIZ, ESQ.,
   IN SUPPORT OF APPLICATION FOR RETENTION OF ORTIZ & ORTIZ, L.L.P.

         Norma E. Ortiz, states as follows:

         1.      I am an attorney at law admitted to practice before this Court and a member of the

firm Ortiz & Ortiz, L.L.P (“O & O”).

         2.      I am the partner primarily responsible for the Debtor’s case. I have been involved

in numerous reorganization and consumer bankruptcy cases over the last 30 years and possess

the requisite experience and qualifications to serve as Debtor’s counsel.

         3.      My firm has agreed to bill the Debtor at an hourly rate of $475 an hour for

partners and $375 an hour and below for associates and attorneys serving as of counsel to my

firm. We bill $100 an hour and below for paralegal services. I bill non-bankruptcy clients

between $350 and $475 an hour, depending upon – among other things – the complexity of the

matter. Photocopying charges are only billed to the estate when a large copying job is required

and are billed at the rate of five cents a page or the rate charged by the vendor. Any costs

incurred by third party vendors will be billed to the estate at O & O’s cost.

         4.      The Debtor has consented to our retention under a classic retainer under these

terms.

         5.      I know of no reason why O & O is not qualified to represent the Debtor in this
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case. The firm had no prior connection to the Debtor or any of shareholder before it was first

consulted regarding the Debtor’s financial difficulties.

       6.      I reviewed my database of clients and conducted a conflicts search to ensure that

my firm is qualified to serve as Debtor’s counsel. Based upon that review, to the best of my

knowledge, neither I or O & O has any connection with the Debtor, its creditors or any other

parties-in-interest, or their respective attorneys and accountants. I was formerly employed by the

Office of the United States Trustee for the Southern District of New York (the “United States

Trustee”) over 20 years ago: I have no other connection with the Office or any person employed

by the United States Trustee.

       7.      O & O agreed to accept a retainer of $20,000. The retainer was paid from the

Debtor's operating account.

       8.      Any post-petition payments of compensation will be made pursuant to, among

other things, the applicable Bankruptcy Code provisions and the Federal Rules of Bankruptcy

Procedure. Moreover, my firm is fully aware that all fees received as compensation for services

to the Debtor is subject to the Court’s approval for, among other things, reasonableness

regardless of the source of funds paid to my firm.

       9.      My firm has not agreed to share compensation with any other person or entity.

       I declare under the penalty of perjury that the foregoing is accurate and correct.

Dated: June 11, 2021
       Astoria, New York
                                                              /s/Norma E. Ortiz             r
                                                             Norma E. Ortiz
                                                             Ortiz & Ortiz, L.L.P.
                                                             35-10 Broadway, Suite 201
                                                             Astoria, New York 11106
                                                             Tel. (718) 522-1117
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X

In re:                                                        Case No. 21-110-lgb

Certa Dose Inc.,
                                                              Chapter 11
                                    Debtor.
------------------------------------------------------X

                   ORDER PURSUANT TO SECTION 327(a) OF THE
              BANKRUPTCY CODE AUTHORIZING THE EMPLOYMENT OF
               ORTIZ & ORTIZ, L.L.P. AS ATTORNEYS FOR THE DEBTOR

         Upon the application (the “Application”) of Certa Dose, Inc. (the “Debtor”), as debtor

and debtor in possession, dated June 11, 2021, for entry of an order pursuant to 11 U.S.C. §

327(a) authorizing and approving the employment of Ortiz & Ortiz, L.L.P. (“O & O”) as its

attorneys; upon the Declaration of Norma E. Ortiz, Esq., a partner of the firm of O & O; it

appearing that the members of O & O are admitted to practice before this Court; the Court being

satisfied that O & O represents no interest adverse to the Debtor and its estate as to the matters

upon which it is to be engaged, is disinterested under 11 U.S.C. §101(14), and that the

employment of O & O is necessary and in the best interest of the Debtor and its estate; due

notice of the Application having been given to the United States Trustee, and it appearing that no

other or further notice need be given; sufficient cause appearing therefore, it is

         ORDERED, that the Application is granted to the extent set forth herein; and it is further

         ORDERED, that pursuant to 11 U.S.C. § 327(a) of the Bankruptcy Code, the Debtor is

authorized to employ O & O as its attorneys as of May 30, 2021, under the terms and conditions

set forth in the Application; and it is further

         ORDERED, that prior to any increases in O & O rates for any individual retained by O &

O and providing services in this case, O & O shall file a supplemental affidavit with the Court
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and provide ten business days’ notice to the Debtor, the United States Trustee and any official

committee. The supplemental affidavit shall explain the bases for the requested rate increases in

accordance with Section 330(a)(3)(F) of the Bankruptcy Code and state whether O & O’s client

has consented to the rate increase. The United States Trustee retains all rights to object to any

rate increase on all grounds including, but not limited to, the reasonableness standard provided

for in section 330 of the Bankruptcy Code, and the Court retains the right to review any rate

increase pursuant to Section 330 of the Bankruptcy Code.


Dated: New York, New York
       June ___, 2021
                                                     ____________________________
                                                     LISA G. BECKERMAN
                                                     U.S. BANKRUPTCY JUDGE


NO OBJECTION:


                                      r
Office of the United States Trustee
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 4
                                      UNITED STATES BANKRUPTCY COURT
 5                                     SOUTHERN DISTRICT OF NEW YORK

 6    IN RE:                                                       CASE NO: 21-11045
       Certa Dose, Inc.                                            DECLARATION OF MAILING
 7
                                                                   CERTIFICATE OF SERVICE
 8                                                                 Chapter: 11
                                                                   Judge: Norma Ortiz

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11
     On 6/17/2021, I did cause a copy of the following documents, described below,
12   Application to Employ

13   Declaration
     Proposed Order
14

15

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19   to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
     sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
20   incorporated as if fully set forth herein.

21   I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
     com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
22   Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
     fully set forth herein.
23   Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
     served electronically with the documents described herein per the ECF/PACER system.
24
     DATED: 6/17/2021
25
                                                      /s/ Norma Ortiz
26                                                    Norma Ortiz 2206530

27                                                    Ortiz and Ortiz, LLP
                                                      35-10 Broadway, Suite 201
28                                                    Astoria, NY 11106
                                                      718 522 1117
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                                       UNITED STATES BANKRUPTCY COURT
4                                       SOUTHERN DISTRICT OF NEW YORK
5
        IN RE:                                                           CASE NO: 21-11045
6
        Certa Dose, Inc.                                                 CERTIFICATE OF SERVICE
                                                                         DECLARATION OF MAILING
7
                                                                         Chapter: 11
8                                                                        Judge: Norma Ortiz


9

10

11   On 6/17/2021, a copy of the following documents, described below,

     Application to Employ
12
     Declaration
13   Proposed Order

14

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16

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19   were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
     postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
20   herein.

     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
21   referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
     Service and that it is true and correct to the best of my knowledge, information, and belief.
22
     DATED: 6/17/2021
23

24

25
                                                                  Jay S. Jump
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                Norma Ortiz
                                                                  Ortiz and Ortiz, LLP
28                                                                35-10 Broadway, Suite 201
                                                                  Astoria, NY 11106
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PO BOX 838                               PO BOX 6294                              1233 DUBLIN RD
DENVER CO 80201                          CAROL STREAM IL 60197                    COLUMBUS OH 43215




COOLEY LLP                               DEPARTMENT OF REVENUE                    INTERNAL REVENUE SERVICE
101 CALIFORNIA STREET 5TH FLOOR          TAXATION DIVISION                        PO BOX 7346
SAN FRANCISCO CA 94111                   P.O. BOX 17087                           CENTRALIZED INSOLVENCY AGENCY
                                         DENVER CO 80217                          PHILADELPIA PA 19101-7346




INTERNATIONAL
LIU SHEN & ASSOCIATES                    MARSHALL DENNEHEY                        MATTHEW FLEISHMAN
10TH FLOOR BUILDING 1                    2000 MARKET STREET SUITE 2300            260 MONROE ST DENVER
10 CAIHEFANG ROAD                        PHILADELPHIA PA 19103                    DENVER CO 80206
HAIDIAN DISTRICT CHINA




MCKESSON                                 NEUGEBOREN O DOWD PC                     NEW YORK GENOME CENTER
9954 MAYLAND DRIVE                       1227 SPRUCE STREET SUITE 200             101 6TH AVE
RICHMOND VA 23228                        BOULDER CO 80302                         NEW YORK NY 10013




NYS DEPT OF TAX AND FINANCE              PACIFIC WESTERN BANK                     PACIFIC WESTERN BANK
BANKRUPTCY SECTION                       SBA PPP LOAN                             PO BOX 6818
PO BOX 5300                              9701 WILSHIRE BLVD. #700                 CAROL STREAM IL 60197
ALBANY NY 12205-0300                     BEVERLY HILLS CA 90212




INTERNATIONAL
STIPLASTICS HEALTHCARING                 THE LAW OFFICE OF JOSUE D. HERNANDEZ
62 CHEMIN DES PLANTÉES                   CERTA DOSE INC
38160 SAINT-MARCELLIN                    P.O. BOX 8383
FRANCE                                   DENVER CO 80201
